Case 1:16-cv-03418-TWP-DML Document 63 Filed 05/14/18 Page 1 of 2 PageID #: 919



                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

 AARON FARRER,                                  )
                                                )
                              Plaintiff,        )
                                                )
                         v.                     )     No. 1:16-cv-03418-TWP-DML
                                                )
 INDIANA UNIVERSITY, et al.                     )
                                                )
                              Defendants.       )

                 Entry and Order from Settlement Conference
       The plaintiff, in person and by counsel, and the defendants, by their

 authorized representatives and by counsel, appeared for a settlement conference on

 May 10, 2018, with the magistrate judge. The conference was held and concluded

 with the parties' agreement on settlement terms.

         Therefore, all pending motions, if any, are now DENIED AS MOOT and all

 previously ordered dates relating to discovery, filings, schedules, conferences, and

 trial, if any, are VACATED.

       Within thirty days of the date of this entry, counsel for the plaintiff shall file

 a motion to dismiss this cause and submit an order for the Court’s signature

 ordering the dismissal of this action or a stipulation of dismissal (consistent with

 the agreement of the parties). Additional time to complete the execution of the

 settlement documents may be granted if requested in writing before expiration of

 this period.
                                            ____________________________________
       So ORDERED.                             Debra McVicker Lynch
                                               United States Magistrate Judge
       Date: 5/14/2018                         Southern District of Indiana
Case 1:16-cv-03418-TWP-DML Document 63 Filed 05/14/18 Page 2 of 2 PageID #: 920



 Distribution:

 All ECF-registered counsel of record by email through the court’s ECF system




                                         2
